          Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 1 of 24 PageID #:1




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

ALEXIS PARKER and LATISHA RHODES,
Individually and On Behalf of All Others Similarly
Situated,
                                                             Civil Case No.:
                              Plaintiffs,
                                                             COLLECTIVE AND CLASS
     v.                                                      ACTION COMPLAINT

IAS LOGISTICS DFW, LLC d/b/a PINNACLE                        JURY DEMAND
LOGISTICS,

                              Defendant.

           Plaintiffs Alexis Parker and Latisha Rhodes, individually and on behalf of all others

similarly situated, by and through their attorneys, hereby submit this Collective and Class Action

Complaint against Defendant IAS Logistics DFW, LLC d/b/a Pinnacle Logistics, and allege of

their own knowledge and conduct and upon information and belief as to all other matters, as

follows:

                                   PRELIMINARY STATEMENT

1.         Plaintiffs Alexis Parker and Latisha Rhodes bring this action for themselves and all other

similarly situated collective members, to recover unpaid overtime wages, liquidated damages,

reasonable attorneys’ fees and costs as a result of Defendant’s willful violation of the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) and attendant regulations at 29 C.F.R. § 516,

et seq.

2.         Plaintiff Alexis Parker also brings this action for herself and all other similarly situated

Illinois Rule 23 class members to recover unpaid wages including overtime pay, liquidated

(treble) damages, statutory monthly damages penalties, and reasonable attorneys’ fees and costs

as a result of Defendant’s willful violation of the Illinois Minimum Wage Law, 820 Ill. Comp.
         Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 2 of 24 PageID #:2




Stat. 105/1, et seq. (“IMWL”) and the Illinois Wage Payment and Collection Act, 820 Ill. Comp.

Stat. 115/1, et seq. (“IWPCA”).

3.         Plaintiff Latisha Rhodes also brings this action for herself and all other similarly situated

Maryland Rule 23 class members to recover unpaid wages including overtime pay, treble

damages and reasonable attorneys’ fees and costs under the Maryland Wage and Hour Law

(“MWHL”), Md. Code. Ann. Lab. & Empl. § 3-401, et seq. and the Maryland Wage Payment

and Collection Law (“MWPCL”), Md. Code. Ann. Lab. & Empl. § 3-501, et seq.

4.         Defendant “is a leading provider of trucking and aviation services across the United

States” providing a range of logistic and ground support equipment leasing services including

local delivery, warehouse management, loading and unloading cargo aircraft, etc.1

5.         Plaintiffs and the putative FLSA collective and Rule 23 class members are hourly-paid

workers subject to Defendant’s unlawful common policies and practices which included:

               a.   implementing a company-wide policy of automatically deducting thirty minutes

                    to one hour of pay for “meal break” even though the workers worked through

                    their shifts and did not receive uninterrupted bona fide meal breaks, i.e.,

                    completely relieved from duties for the purposes of eating regular meals, see 29

                    C.F.R. § 785.19, thus failing to pay the workers for all hours worked; and

               b. failing to include compensation for weekends shifts and nightshift differentials in

                    the workers’ regular rate of pay before statutory overtime compensation is

                    computed. See 29 C.F.R. §§ 778.108 (“the [FLSA] requires inclusion in the

                    ‘regular rate’ of ‘all remuneration for employment paid to, or on behalf of, the

                    employee’” except statutory exclusions); 778.203 (“If the premium rate is less


1
    See Defendant’s website: https://www.pinnaclelogistics.com/about-us/ (last accessed August 27, 2020).



                                                          2
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 3 of 24 PageID #:3




               than time and one-half, the extra compensation provided by such rate must be

               included in determining the employee’s regular rate of pay and cannot be credited

               toward statutory overtime due….”); 778.207(b) (“The [FLSA] requires the

               inclusion in the regular rate of such extra premiums as nightshift differentials.”).

6.     As a result, Defendant violated its statutory and contractual obligations by failing to pay

the workers including Plaintiffs for all hours worked including straight time and overtime wages

at a rate of not less than one and one-half (1.5) times the regular rate of pay for hours worked in

excess of forty per week.

7.     Plaintiffs Alexis Parker and Latisha Rhodes assert the FLSA claims on behalf of a

putative nationwide FLSA collective, defined as:

               All hourly-paid employees of Defendant at any time from three (3) years prior to
               the filing of this Complaint through the date of judgment.

8.     Plaintiffs seek to send a Notice pursuant to 29 U.S.C. § 216(b) to all hourly-paid workers

of Defendant permitting them to assert FLSA claims in this collective action by filing their

individual consent forms.

9.     Plaintiff Alexis Parker asserts the IMWL and IWPCA claims on behalf of a putative

Illinois class pursuant to Fed. R. Civ. P. 23, defined as:

               All hourly-paid employees of Defendant in the State of Illinois at any time during
               the applicable statutory period for the Illinois law claims alleged in this
               Complaint.

10.    Plaintiff Latisha Rhodes asserts the MWHL and MWPCL claims on behalf of a putative

Maryland class pursuant to Fed. R. Civ. P. 23, defined as:

               All hourly-paid employees of Defendant in the State of Maryland at any time
               during the applicable statutory period for the Maryland law claims alleged in this
               Complaint.

11.    Defendant has willfully and intentionally committed widespread violations of the above-



                                                  3
         Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 4 of 24 PageID #:4




described statutes and corresponding regulations, in the manner described herein.

                                       JURISDICTION AND VENUE

12.        This Court has subject-matter jurisdiction over Plaintiffs’ FLSA claims pursuant to 28

U.S.C. § 1331 because Plaintiffs’ claims raise a federal question under 29 U.S.C. § 201, et seq.

13.        This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

U.S.C. §1367 because those claims derive from a common nucleus of operative facts as

Plaintiffs’ federal claims and employment with Defendant.

14.        This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice.

15.        This Court has personal jurisdiction over Defendant because it conducted business within

and engaged in systematic and continuous contacts with the State of Illinois.

16.        Venue is proper in this District because a substantial portion of the events that give rise to

the asserted claims occurred in this District.

                                                 THE PARTIES

17.        Defendant IAS Logistics DFW, LLC, doing business as Pinnacle Logistics, is a for profit

entity created and existing under and by virtue of the laws of the State of Delaware.

18.        According to its website, Defendant maintains headquarters at 111 W 4th Street, Suite

301, Fort Worth, TX 76102 “[w]ith a network of13 service locations”.2

19.        According to the Illinois Secretary of State website, Defendant has the following

Registered Agent: Cogency Global Inc., 600 South Second St, Suite 404, Springfield , IL 62704.

See Exhibit 1, a true copy of the entity search result from the Illinois Secretary of State website.


2
    See Defendant’s website: https://www.pinnaclelogistics.com/network/ (last accessed August 27, 2020).



                                                          4
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 5 of 24 PageID #:5




20.      IAS Logistics DFW, LLC has two members: Harry Combs (“Combs”) and Everett

Wheeling (“Wheeling”).

21.      Combs is a citizen of the State of Colorado and Wheeling is a citizen of the State of

Texas.

22.      Plaintiff Alexis Parker (“Parker”) is a resident of the County of Winnebago and State of

Illinois.

23.      Parker was employed by Defendant as an hourly-paid employee from approximately

November 2019 to May 2020 when Amazon assumed the operation of Defendant’s Illinois

facility.

24.      Parker was employed by Defendant as a warehouse agent.

25.      The position of warehouse agent has been classified at all times material to this

Complaint as non-exempt.

26.      Parker was employed by Defendant at its Rockford, Illinois location.

27.      Parker’s hourly rate was $16 when she was separated from the company.

28.      Parker’s written consent to become an FLSA party plaintiff is attached hereto as Exhibit

2.

29.         Plaintiff Latisha Rhodes (“Rhodes”) is a resident of the City of Baltimore and State of

Maryland.

30.      Rhodes was employed by Defendant as an hourly-paid employee from approximately

August 2019 to April 2020 when Amazon assumed the operation of Defendant’s Maryland

facility.

31.      Rhodes was employed by Defendant as a warehouse agent.

32.      Rhodes was employed by Defendant at its Baltimore, Maryland location.




                                                  5
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 6 of 24 PageID #:6




33.    Rhodes’ hourly rate was $15 when she was separated from the company.

34.    Rhodes’s written consent to become an FLSA party plaintiff is attached hereto as Exhibit

3.

                                  FACTUAL ALLEGATIONS

35.    Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

36.    At all relevant times alleged herein, Defendant has operated and controlled an enterprise

engaged in commerce as defined under the FLSA.

37.    At all relevant times alleged herein, Defendant has generated over $500,000.00 in

revenue per year.

38.    At all relevant times alleged herein, Defendant were/are the “employer” of the Plaintiffs

and the putative collective/class members within the meaning of 29 U.S.C § 203(d), 820 Ill.

Comp. Stat. 105/3(c), 820 Ill. Comp. Stat. 115/2, and Md. Code Ann., Lab. & Empl. §§ 3-101, 3-

401 and 3-501.

39.    Defendant knowingly “suffered or permitted” Plaintiffs and the putative collective/class

members to work and thus “employed” them within the meaning of 29 U.S.C. §203(g), 820 Ill.

Comp. Stat. 105/3(d) and 820 Ill. Comp. Stat. 115/2.

40.    Defendant hired the Plaintiffs and the putative collective/class members and determined

the rate and method of the payment of their wages.

41.    Defendant controlled the work schedules, duties, protocols, applications, assignments and

work conditions of Plaintiffs and the putative collective/class members.

42.    At all relevant times alleged herein, Plaintiffs and the putative collective/class members

performed job duties that do not fall within any exemptions from overtime under the FLSA and

IMWL, IWPCA, MWHL and MWPCL.


                                                 6
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 7 of 24 PageID #:7




43.    Defendant paid Plaintiffs and the putative collective/class members on an hourly basis.

44.    An implied-in-fact agreement existed between Defendant and Plaintiffs and the putative

collective/class members that they were to be compensated for all hours worked during their

employment with Defendant, as evidenced by Defendant paying them an hourly rate of pay,

furnishing paystubs showing agreed hourly rates and instructing them to use Defendant’s time-

keeping system.

45.    Plaintiffs worked over forty (40) hours in several workweeks.

46.    In several workweeks, management required Plaintiffs and the putative collective/class

members to perform work over forty (40) hours per week.

47.    Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks, i.e., completely relieved

from duties for the purposes of eating regular meals, see 29 C.F.R. § 785.19, thus failing to pay

the workers for all hours worked.

48.    Due to daily workload and time constrictions on inbound and/or outbound schedules,

Plaintiffs and the putative collective/class members often worked through their shifts without

taking bona fide meal breaks.

49.    On several occasions, management did not allow Plaintiffs and the putative

collective/class members to take meal breaks.

50.    Even though Plaintiffs and the putative collective/class members did not take bona fide

meal breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay, thus

shorting the workers’ earned wages.

51.    Defendant failed to compensate Plaintiffs and the putative collective/class members for




                                                7
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 8 of 24 PageID #:8




all hours worked.

52.     In addition, to the extent that Defendant paid the workers overtime wages, it failed to

include compensation for weekends shifts and nightshift differentials in the workers’ regular

rate of pay before statutory overtime compensation is computed. See 29 C.F.R. §§ 778.108 (“the

[FLSA] requires inclusion in the ‘regular rate’ of ‘all remuneration for employment paid to, or on

behalf of, the employee’” except statutory exclusions); 778.203 (“If the premium rate is less than

time and one-half, the extra compensation provided by such rate must be included in determining

the employee’s regular rate of pay and cannot be credited toward statutory overtime due….”);

778.207(b) (“The [FLSA] requires the inclusion in the regular rate of such extra premiums as

nightshift differentials.”).

53.     For example, attached as Exhibit 4 is Ms. Parker’s paystub for the pay period of March

29, 2020 to April 11, 2020; the paystub shows Defendant paid the workers on a bi-weekly basis.

54.     The paystub shows the Defendant’s policy of automatically deducting thirty minutes for

shifts where Ms. Parker clocked in 7 or more hours and deducting one hour where Ms. Parker

clocked in 10 or more hours. Exhibit 4.

55.     Ms. Parker worked through her shifts without taking bona fide meal breaks during this

pay period, yet Defendant deducted, yet Defendant applied automatic deductions of pay and shorted

her earned wages. Exhibit 4.

56.     Defendant paid the workers extra compensation for weekend shifts and night shifts.

Exhibit 4.

57.     The paystub shows Defendant failed to factor in compensation for weekends shifts and

nightshift differentials in the regular rate of pay upon computing overtime rate: the overtime

premium was paid at an incorrect rate of $21 (1.5 times the regular hourly rate $14) instead of a




                                                8
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 9 of 24 PageID #:9




higher rate that incorporated additional pay for weekend and night shifts. Exhibit 4; 29 C.F.R. §

785.109 (“The regular hourly rate of pay of an employee is determined by dividing his total

remuneration for employment (except statutory exclusions) in any workweek by the total number

of hours actually worked by [her] in that workweek for which such compensation was paid.”).

58.    Defendant violated its statutory and contractual obligations by failing to pay Plaintiffs

and the putative collective/class members for all hours worked including straight time and

overtime wages at a rate of not less than one and one-half (1.5) times the regular rate of pay for

hours worked in excess of forty per week.

59.    Plaintiffs and the putative collective/class members were subjected to the common

unlawful policies and practices of Defendant as stated herein that violated the FLSA and IMWL,

IWPCA, MWHL and MWPCL.

60.    Defendant’s wrongful acts and/or omissions/commissions, as alleged herein, have not

been exercised in good faith or in conformity with and in reliance on any written administrative

regulation, order, ruling, approval, or interpretation by the state and/or U.S. Department of Labor

or any administrative practice or enforcement policy of such a department or bureau.

61.    Defendant’s widespread violations of the above-described federal and state wage and

hour statutes and regulations were willful, arbitrary, unreasonable and/or in bad faith.

                          COLLECTIVE ACTION ALLEGATIONS

62.    Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

63.    Plaintiffs bring this action pursuant to Section 216(b) of the FLSA, as an opt-in

representative action, on behalf of all hourly-paid workers who have been affected by

Defendant’s common unlawful policies and practices which shorted overtime wages, in violation




                                                 9
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 10 of 24 PageID #:10




of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) and attendant regulations at

29 C.F.R. § 516, et seq.

64.     Plaintiffs bring this action pursuant to 29 U.S.C. § 216(b) of the FLSA on behalf of:

        All hourly-paid employees of Defendant at any time from three (3) years prior to the
        filing of this Complaint through the date of judgment.

Plaintiffs reserve the right to amend this definition as necessary.

65.     Plaintiffs bring this collective action against Defendant to recover unpaid overtime

compensation, liquidated damages, and reasonable attorneys’ fees and costs pursuant to 29

U.S.C. § 216(b).

66.     The collective action further alleges a willful violation of the FLSA and is covered by a

third year of limitations.

67.     Plaintiffs seek to send Notice to all similarly situated hourly-paid workers as provided by

29 U.S.C. § 216(b) and supporting case law.

68.     Certification of the collective action under the FLSA is appropriate because the

employees described herein are “similarly situated” to Plaintiffs under 29 U.S.C. § 216(b). The

class of employees on behalf of whom Plaintiffs bring this collective action are similarly situated

because they were subject to the same or similar unlawful policies and practices as stated herein

and their claims are based upon the same factual and legal theories.

69.     Plaintiffs anticipate that there will be no difficulty in the management of this litigation.

This litigation presents claims under the FLSA, a type that have often been prosecuted on a class

wide basis, and the manner of identifying the collective and providing any monetary relief to it

can be effectuated from a review of Defendant’s records.

70.     Plaintiffs and the putative FLSA collective members demand a trial by jury.




                                                 10
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 11 of 24 PageID #:11




                          RULE 23 CLASS ACTION ALLEGATIONS

71.      Plaintiffs re-allege and incorporate all previous paragraphs herein.

72.      Plaintiffs also seek to maintain this action pursuant to Fed. R. of Civ. P. 23, as an opt-

out class action, on behalf all hourly-paid workers who have been affected by Defendant’s

common unlawful policies and practices of shorted straight time and overtime wages, in

violation of the IMWL, IWPCA, MWHL and MWPCL.

73.      Plaintiff Parker brings this Rule 23 class action on behalf of the following Illinois class:

         All hourly-paid employees of Defendant in the State of Illinois at any time during the
         applicable statutory period for the Illinois law claims alleged in this Complaint.

Plaintiff reserves the right to amend this definition as necessary.

74.      The Illinois Rule 23 class seeks to recover up to treble damages of unpaid wages,

statutory monthly damages penalty, and reasonable attorneys’ fees and costs under the IMWL

and IWPCA.

75.      Plaintiff Rhodes brings this Rule 23 class action on behalf of the following Maryland

class:

         All hourly-paid employees of Defendant in the State of Maryland at any time during the
         applicable statutory period for the Maryland law claims alleged in this Complaint.

Plaintiff reserves the right to amend this definition as necessary.

76.      The Maryland Rule 23 class seeks to recover treble damages of unpaid wages and

reasonable attorneys’ fees and costs under the MWHL and MWPCL.

77.      The members of the Rule 23 classes are so numerous that joinder of all class members in

this case would be impractical. Plaintiffs reasonably estimates that there are a substantial number

of class members in the States of Illinois and Maryland. The Rule 23 class members should be

easy to identify from Defendant’s payroll and personnel records.




                                                  11
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 12 of 24 PageID #:12




78.     There is a well-defined community of interest among the Rule 23 class members and

common questions of law and fact predominate in this action over any questions affecting

each individual class member.

79.     Plaintiffs’ claims are typical of those of the Rule 23 class members in that they and

all other class members suffered damages as a direct and proximate result of Defendant’s

common and systemic pay policies and practices. All of the class members were subject to

the same corporate practices of Defendant, as alleged herein, of shorting workers’ wages.

Any lawsuit brought by an employee of Defendant would be identical to a suit brought by

any other employee for the same violations and separate litigation would cause a risk of

inconsistent results.

80.     Plaintiffs were employed by Defendants in the same capacity as all of the class

members. All class members were treated the same or similarly by management with respect

to pay or lack thereof. This treatment included, but was not limited to, shorting workers’

wages. Thus, there are common questions of law and fact which are applicable to each and

every one of the class members.

81.     Plaintiffs will fully and adequately protect the interests of the class members and

have retained counsel who are qualified and experienced in the prosecution of nationwide

wage and hour class actions. Plaintiffs and their counsel do not have interests that are

contrary to, or conflicting with, the interests of the class members.

82.     Defendant’s corporate-wide policies and practices affected all class members similarly,

and Defendant benefited from the same type of unfair and/or wrongful acts as to each class

member. Plaintiffs’ claims arise from the same legal theories as all other class members.

Therefore, this case will be more manageable and efficient as a Rule 23 class action. Plaintiffs




                                               12
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 13 of 24 PageID #:13




and their counsel know of no unusual difficulties in this case.

83.     Plaintiffs and the Rule 23 class members demand a trial by jury.

                               FIRST CLAIM FOR RELIEF
             Violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
          (Brought by Plaintiffs Individually and on Behalf of the FLSA Collective)
                               Failure to Pay Overtime Wages

84.     Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

85.     29 U.S.C. § 207(a)(1) provides:

        [N]o employer shall employ any of his employees who in any workweek is
        engaged in commerce or in the production of goods for commerce, or is
        employed in an enterprise engaged in commerce or in the production of
        goods for commerce, for a workweek longer than forty hours unless such
        employee receives compensation for his employment in excess of the
        hours above specified at a rate not less than one and one-half times the
        regular rate at which he is employed.

86.     Defendant employed Plaintiffs and the FLSA collective members as hourly-paid workers.

87.     In several workweeks, Plaintiffs and the FLSA collective members worked over forty

(40) hours a week.

88.     Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks.

89.     Plaintiffs and the FLSA collective members often worked through their shifts without

taking bona fide meal breaks.

90.     On several occasions, management did not allow Plaintiffs and the FLSA collective

members to take meal breaks.

91.     Even though Plaintiffs and the FLSA collective members did not take bona fide meal

breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay.



                                                13
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 14 of 24 PageID #:14




92.       Defendant failed to compensate Plaintiffs and the FLSA collective members for all hours

worked.

93.       In addition, Defendant failed to include compensation for weekends shifts and nightshift

differentials in the workers’ regular rate of pay before statutory overtime compensation is

computed.

94.       As a result of the Defendant’s common illegal policies and practices stated herein,

Defendant failed to pay Plaintiffs and the FLSA collective members the required overtime

compensation at a rate of not less than one and one-half (1.5) times the regular rate of pay for

hours worked in excess of forty (40) per week.

95.       Defendant’s uniform policies and practices, as described herein, were willful, intentional,

unreasonable, arbitrary and in bad faith.

96.       Because Defendant willfully violated the FLSA, a three (3) year statute of limitations

shall apply to such violation, pursuant to 29 U.S.C. § 255.

97.       As a result of Defendant’s uniform policies and practices described above, Plaintiffs and

the FLSA collective members are illegally deprived of overtime wages earned, in such amounts

to be determined at trial, and are entitled to recovery of such total unpaid amounts, liquidated

damages, reasonable attorneys’ fees, costs and other compensation pursuant to 29 U.S.C §

216(b).

                                  SECOND CLAIM FOR RELIEF
          Violation of the Illinois Minimum Wage Law, 820 Ill. Comp. Stat. 105/1, et seq.
           (Brought by Plaintiff Parker Individually and on Behalf of the Rule 23 Class)
                                   Failure to Pay Overtime Wages

98.       Plaintiffs repeats and realleges all preceding paragraphs of the Complaint, as if fully set

forth herein.

99.       The IMWL requires employers to pay their employees minimum wages and time-and-a-



                                                  14
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 15 of 24 PageID #:15




half their regular rate of pay of hours worked in excess of forty (40) per week. See 820 Ill. Comp.

Stat. 105/4 and 4a.

100.     Defendant employed the Illinois Plaintiff and Rule 23 class members as hourly-paid

workers.

101.     In several workweeks, the Illinois Plaintiff and Rule 23 class members worked over forty

(40) hours a week.

102.     Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks.

103.     The Illinois Plaintiff and Rule 23 class members often worked through their shifts

without taking bona fide meal breaks.

104.     On several occasions, management did not allow the Illinois Plaintiff and Rule 23 class

members to take meal breaks.

105.     Even though the Illinois Plaintiff and Rule 23 class members did not take bona fide meal

breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay.

106.     Defendant failed to compensate the Illinois Plaintiff and Rule 23 class members for all

hours worked.

107.     In addition, Defendant failed to include compensation for weekends shifts and nightshift

differentials in the workers’ regular rate of pay before statutory overtime compensation is

computed.

108.     As a result of the Defendant’s common illegal policies and practices stated herein,

Defendant failed to pay the Illinois Plaintiff and Rule 23 class members the required overtime

compensation at a rate of not less than one and one-half (1.5) times the regular rate of pay for




                                                15
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 16 of 24 PageID #:16




hours worked in excess of forty (40) per week.

109.     820 Ill. Comp. Stat. 105/12(a) provides that an employee who is not paid in accordance

with the IMWL “may recover in a civil action treble the amount of any such underpayments

together with costs and such reasonable attorney’s fees as may be allowed by the Court, and

damages of 5% of the amount of any such underpayments for each month following the date of

payment during which such underpayments remain unpaid.”

110.     Defendant owes the Illinois Plaintiff and Rule 23 class members wages for hours worked

that were not compensated.

111.     Defendant’s uniform policies and practices, as described herein, have been willful,

intentional, unreasonable, arbitrary and in bad faith.

112.     As a result of Defendant’s uniform policies and practices described above, the Illinois

Plaintiff and Rule 23 class members are illegally deprived of wages earned, in such amounts to

be determined at trial, and are entitled to recovery of treble damages of such total unpaid

amounts, statutory monthly damages penalties, reasonable attorneys’ fees, costs and other

compensation under the IMWL.

                            THIRD CLAIM FOR RELIEF
Violation of the Illinois Wage Payment and Collection Act, 820 Ill. Comp. Stat. 115/1, et seq.
       (Brought by Plaintiff Parker Individually and on Behalf of the Rule 23 Class)
                            Failure to Pay Straight Time Wages

113.     Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

114.     Defendant employed the Illinois Plaintiff and Rule 23 class members as hourly-paid

workers.

115.     An implied-in-fact agreement existed between Defendant and the Illinois Plaintiff and

Rule 23 class members that they were to be compensated for all hours worked during their



                                                 16
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 17 of 24 PageID #:17




employment with Defendant, as evidenced by Defendant paying them an hourly rate of pay,

furnishing paystubs showing agreed hourly rates and instructing them to use Defendant’s time-

keeping system.

116.     Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks.

117.     The Illinois Plaintiff and Rule 23 class members often worked through their shifts

without taking bona fide meal breaks.

118.     On several occasions, management did not allow the Illinois Plaintiff and Rule 23 class

members to take meal breaks.

119.     Even though the Illinois Plaintiff and Rule 23 class members did not take bona fide meal

breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay.

120.     Defendant failed to compensate the Illinois Plaintiff and Rule 23 class members for all

hours worked.

121.     Defendant owes the Illinois Plaintiff and the Rule 23 class members wages for hours

worked that were not compensated.

122.     820 Ill. Comp. Stat. 115/14 provides that “[a]ny employee not timely paid wages, final

compensation, or wages supplements by his or her employer … shall be entitled to recover … in

a civil action … the amount of any such underpayments and damages of 2% of the amount of

any such underpayments for each month following the date of payment during which such

underpayments remain unpaid. In a civil action, such employee shall also recover costs and all

reasonable attorney’s fees.”

123.     As a result of Defendant’s uniform policies and practices described above, the Illinois




                                                17
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 18 of 24 PageID #:18




Plaintiff and Rule 23 class members are illegally deprived of wages earned, in such amounts to

be determined at trial, and are entitled to recovery such total unpaid amounts, statutory monthly

damages penalties, reasonable attorneys’ fees, costs and other compensation pursuant to the

IWPCA.

                             FOURTH CLAIM FOR RELIEF
                        Violation of the Maryland Wage and Hour Law
          (Brought by Plaintiff Rhodes Individually and on Behalf of the Rule 23 Class)
                             Failure to Pay Overtime Time Wages

124.     Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

125.     The MWHL requires each employer shall pay an overtime wage of at least 1.5 times the

usual hourly wage. Md. Code Ann., Lab. & Empl. §§ 3-415, 3-420.

126.     Defendant employed the Maryland Plaintiff and Rule 23 class members as hourly-paid

workers.

127.     In several workweeks, the Maryland Plaintiff and Rule 23 class members worked over

forty (40) hours a week.

128.     Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks.

129.     The Maryland Plaintiff and Rule 23 class members often worked through their shifts

without taking bona fide meal breaks.

130.     On several occasions, management did not allow the Maryland Plaintiff and Rule 23 class

members to take meal breaks.

131.     Even though the Maryland Plaintiff and Rule 23 class members did not take bona fide

meal breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay.



                                                18
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 19 of 24 PageID #:19




132.     Defendant failed to compensate the Maryland Plaintiff and Rule 23 class members for all

hours worked.

133.     In addition, Defendant failed to include compensation for weekends shifts and nightshift

differentials in the workers’ regular rate of pay before statutory overtime compensation is

computed.

134.     Defendant failed and refused to compensate the Maryland Plaintiff and Rule 23 class

properly as required by law for numerous overtime hours worked.

135.     As a result of the Defendant’s common illegal policies and practices stated herein,

Defendant failed to pay the Maryland Plaintiff and Rule 23 class members the required overtime

compensation at a rate of not less than one and one-half (1.5) times the regular rate of pay for

hours worked in excess of forty (40) per week.

136.     Defendant’s uniform policies and practices, as described herein, have been willful,

intentional, unreasonable, arbitrary and in bad faith.

137.     As a result of Defendant’s uniform policies and practices described above, the Maryland

Plaintiff and Rule 23 class members are illegally deprived of wages earned, in such amounts to

be determined at trial, and are entitled to recovery of total unpaid amounts, liquidated damages,

reasonable attorneys’ fees, costs and other compensation under the MWHL.

                               FIFTH CLAIM FOR RELIEF
                 Violation of the Maryland Wage Payment and Collection Law
          (Brought by Plaintiff Rhodes Individually and on Behalf of the Rule 23 Class)
                   Failure to Pay Straight Time and Overtime Time Wages

138.     Plaintiffs repeat and reallege all preceding paragraphs of the Complaint, as if fully set

forth herein.

139.     Defendant employed the Maryland Plaintiff and Rule 23 class members as hourly-paid

workers.



                                                 19
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 20 of 24 PageID #:20




140.     An implied-in-fact agreement existed between Defendant and the Maryland Plaintiff and

Rule 23 class members that they were to be compensated for all hours worked during their

employment with Defendant, as evidenced by Defendant paying them an hourly rate of pay,

furnishing paystubs showing agreed hourly rates and instructing them to use Defendant’s time-

keeping system.

141.     In several workweeks, the Maryland Plaintiff and Rule 23 class members worked over

forty (40) hours a week.

142.     Defendant implemented a company-wide policy of automatically deducting thirty

minutes to one hour of pay for “meal break” irrespective of whether its workers worked through

their shifts and did not receive uninterrupted bona fide meal breaks.

143.     The Maryland Plaintiff and Rule 23 class members often worked through their shifts

without taking bona fide meal breaks.

144.     On several occasions, management did not allow the Maryland Plaintiff and Rule 23 class

members to take meal breaks.

145.     Even though the Maryland Plaintiff and Rule 23 class members did not take bona fide

meal breaks during the work shifts, Defendant deducted thirty minutes to one hour of pay.

146.     Defendant failed to compensate the Maryland Plaintiff and Rule 23 class members for all

hours worked.

147.     In addition, Defendant failed to include compensation for weekends shifts and nightshift

differentials in the workers’ regular rate of pay before statutory overtime compensation is

computed.

148.     As a result of the Defendant’s common illegal policies and practices stated herein,

Defendant failed to pay the Maryland Plaintiff and Rule 23 class members the required straight




                                                20
       Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 21 of 24 PageID #:21




time and overtime wages.

149.     Defendant have failed and continue to fail to pay the Maryland Plaintiff and Rule 23 class

members earned wages, which are due and owing to them.

150.     Section 3-501(c) of MWPCL defines wages as including all compensation that is due to

an employee for employment including all straight time and overtime wages.

151.     Section 3-502 of the MWPCL requires an employer to pay all wages earned “at least

once in every 2 weeks or twice in each month.”

152.     Defendant violated Section 3-502 of the MWPCL by failing to pay the Maryland Plaintiff

and Rule 23 class members earned straight time and overtime wages on time.

153.     Section 3-505 of the MWPCL requires employers to pay an employee “all wages due for

work that the employee performed before the termination of employment, on or before the day

on which the employee would have been paid the wages if the employment had not been

terminated.”’

154.     Defendants violated Section 3-505 by failing to pay the Maryland Plaintiff and Rule 23

class members their straight time and overtime wages at any time on or before the employment

relationship between the parties terminated or when they became due under the MWPCL.

155.     The aforesaid actions and/or omissions of defendant are in contravention of the MWPCL.

156.     As a result of Defendant’s uniform policies and practices described above, the Maryland

Plaintiff and Rule 23 class members are illegally deprived of wages earned, in such amounts to

be determined at trial, and are entitled to recovery of treble damages, reasonable attorneys’ fees,

costs and other compensation under the MWPCL.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief




                                                 21
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 22 of 24 PageID #:22




against Defendant, as follows:

(A)     A declaratory judgment that Defendant’s policies and practices alleged herein violate the

overtime provisions of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant

regulations at 29 C.F.R. § 516, et seq.;

(B)     A declaratory judgment that Defendants’ policies and practices alleged herein violate the

IMWL and IWPCA;

(C)     A declaratory judgment that Defendants’ policies and practices herein violate the MWHL

and MWPCL.

(D)     An Order for injunctive relief ordering Defendant to comply with the FLSA, IMWL,

IWPCA, MWHL and MWPCL and end all of the illegal wage practices alleged herein;

(E)     Certifying this action as a collective action in accordance with 29 U.S.C. § 216(b) with

respect to the FLSA claims set forth herein;

(F)     Certifying this action as a class action pursuant to Fed R. Civ. P. 23 with respect to the

IMWL and IWPCA claims set forth herein;

(G)     Certifying this action as a class action pursuant to Fed R. Civ. P. 23 with respect to the

MWHL and MWPCL claims set forth herein;

(H)     Ordering Defendant to disclose in computer format, or in print if no computer readable

format is available, the names, addresses, e-mail addresses, telephone numbers, dates of birth,

job titles, dates of employment and locations of employment of all FLSA collective and Rule 23

class members;

(I)     Authorizing Plaintiffs’ counsel to send notice(s) of this action to all FLSA collective and

Rule 23 class members, including the publishing of notice in a manner that is reasonably

calculated to apprise the FLSA collective members of their rights by law to join and participate




                                                22
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 23 of 24 PageID #:23




in this lawsuit;

(J)     Designating Lead Plaintiff as the representatives of the FLSA collective in this action;

(K)     Designating the Illinois Lead Plaintiff as the representative of the Illinois Rule 23 class in

this action;

(L)      Designating the Maryland Lead Plaintiff as the representative of the Maryland Rule 23

class in this action;

(M)     Designating the undersigned counsel as counsel for the FLSA collective and Rule 23

Classes in this action;

(N)     Judgment for damages including all unpaid wages and liquidated damages to which

Plaintiffs and the FLSA collective members are lawfully entitled under the FLSA, 29 U.S.C. §

201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

(O)     Judgment for treble damages of unpaid wages and statutory monthly damages penalties to

which the Illinois Plaintiff and Rule 23 class members are lawfully entitled under the IMWL;

(P)     Judgment for damages including unpaid wages and statutory monthly damages penalties

to which the Illinois Plaintiff and Rule 23 class members are lawfully entitled under the IWPCA;

(Q)     Judgment for damages including all unpaid wages and liquidated damages to which the

Maryland Plaintiff and Rule 23 class members are lawfully entitled under the MWHL;

(R)     Judgment for treble to which the Maryland Plaintiff and Rule 23 class members are

lawfully entitled under the MWPCL;

(S)     An incentive award for the Lead Plaintiffs for serving as representatives of the FLSA

collective and Rule 23 classes in this action;

(T)     An Order directing Defendant to pay Plaintiffs and members of the collective/class

reasonable attorneys’ fees and all costs connected with this action pursuant to the FLSA, IMWL,




                                                 23
      Case: 1:20-cv-05103 Document #: 1 Filed: 08/31/20 Page 24 of 24 PageID #:24




IWPCA, MWHL and MWPCL.

(U)     Judgment for any and all civil penalties to which Plaintiffs and members of the

collective/class may be entitled; and

(V)     Such other and further relief as to this Court may deem necessary, just and proper.

                                         JURY DEMAND

        Plaintiffs, individually and on behalf of all other FLSA collective and Rule 23 class

members, by and through undersigned counsel, hereby demand a trial by jury pursuant to Rule

38 of the Federal Rules of Civil Procedure and the court rules and statutes made and provided

with respect to the above entitled claims.

Dated: August 31, 2020                        Respectfully submitted,


                                        By:   /s/ Jason T. Brown
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                                                24
